  Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 1 of 23 PageID #:16583




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ANDREW CORZO, SIA HENRY, ALEXANDER LEO-
 GUERRA, MICHAEL MAERLENDER, BRANDON
 PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
 TATIANA WEAVER, and CAMERON WILLIAMS,
 individually and on behalf of all others similarly situated,
                                Plaintiffs,
                        v.
                                         Case No. 1:22-cv-00125
 BROWN UNIVERSITY, CALIFORNIA INSTITUTE
 OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
 THE TRUSTEES OF COLUMBIA UNIVERSITY IN
 THE CITY OF NEW YORK, CORNELL
 UNIVERSITY, TRUSTEES OF DARTMOUTH
 COLLEGE, DUKE UNIVERSITY, EMORY         Hon. Matthew F. Kennelly
 UNIVERSITY, GEORGETOWN UNIVERSITY, THE
 JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
 INSTITUTE OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
 LAC, THE TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA, WILLIAM MARSH RICE
 UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,
                                Defendants.

 DECLARATION OF EDWARD NORMAND IN SUPPORT OF MOTION FOR CLASS
     CERTIFICATION AND MOTION TO EXCLUDE THE TESTIMONY OF
        DEFENDANTS’ EXPERT DR. LONG AND PETER AMMON_

        I, Edward Normand, duly sworn, do hereby depose and say as follows:

        1.     I am a Partner at the law firm Freedman Normand Friedland LLP, counsel for

Plaintiffs.

        2.     I am fully familiar with the facts and circumstances set forth herein, and I make this

declaration in support of Plaintiffs’ Motion for Class Certification and Motions to Exclude the

Testimony of Defendants’ Expert Dr. Bridget Terry Long and Mr. Peter Ammon.
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 2 of 23 PageID #:16584




       3.     Attached as Exhibit 1 is a true and correct copy of CORNELL_LIT0000015955,

Felton Deposition Exhibit. 7, dated October 14, 2020.

       4.     Attached as Exhibit 2 is a true and correct copy of CORNELL_LIT0000018801,

dated January 28, 2016.

       5.     Attached as Exhibit 3 is a true and correct copy of CORNELL_LIT0000162302,

Felton Deposition Exhibit 24., dated October 28, 2009.

       6.     Attached as Exhibit 4 is a true and correct copy of CORNELL_LIT0000170204,

dated October 8, 2010.

       7.      Attached as Exhibit 5 is a true and correct copy of CORNELL_LIT0000301012,

dated December 21, 2012.

       8.     Attached as Exhibit 6 is a true and correct copy of DARTMOUTH_0000380953,

dated February 23, 2022.

       9.     Attached as Exhibit 7 is a true and correct copy of DARTMOUTH_0000359371,

dated November 28, 2005.

       10.    Attached as Exhibit 8 is a true and correct copy of DUKE568_0029589, dated April

22, 2021.

       11.    Attached as Exhibit 9 is a true and correct copy of DUKE568-0067132, dated April

19, 2017.

       12.    Attached as Exhibit 10 is a true and correct copy of Emory_568Lit_0000577, dated

February 23, 2009.

       13.    Attached as Exhibit 11 is a true and correct copy of Emory_568Lit_0002702, dated

February 21, 2012.




                                               2
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 3 of 23 PageID #:16585




       14.      Attached as Exhibit 12 is a true and correct copy of Emory_568Lit_0003643, dated

February 21, 2012.

       15.      Attached as Exhibit 13 is a true and correct copy of EMORY_568Lit_0006148,

dated April 18, 2012.

       16.      Attached as Exhibit 14 is a true and correct copy of GTWNU_0000000241, dated

June 4, 2019.

       17.      Attached as Exhibit 15 is a true and correct copy of GTWNU_0000000278.

       18.      Attached as Exhibit 16 is a true and correct copy of GTWNU_0000116894, dated

February 2, 2012.

       19.      Attached as Exhibit 17 is a true and correct copy of GTWNU_0000193182,

McWade Exhibit 11, dated April 15, 2014.

       20.      Attached as Exhibit 18 is a true and correct copy of MITLIT-000074274, Bridson

MIT 30(b)(6) Ex. 02, dated August 27, 2014.

       21.      Attached as Exhibit 19 is a true and correct copy of MITLIT-000089375, Millard

Ex. 7, dated November 13, 2016.

       22.      Attached as Exhibit 20 is a true and correct copy of MITLIT-000117897, I. Waitz

Deposition Exhibit 5, dated December 1, 2019.

       23.      Attached as Exhibit 21 is a true and correct copy of MITLIT-000637360 , Hicks

Ex. 11, dated October 17, 2014.

       24.      Attached as Exhibit 22 is a true and correct copy of MITLIT-000659292, S. Schmill

Deposition Exhibit 29, dated December 22, 2018.

       25.      Attached as Exhibit 23 is a true and correct copy of ND_0039910, dated December

11, 2019.




                                                3
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 4 of 23 PageID #:16586




        26.     Attached as Exhibit 24 is a true and correct copy of ND_0196410, Malloy

Deposition Exhibit 12., dated March 6, 2012.

        27.     Attached as Exhibit 25 is a true and correct copy of ND_0199458.

        28.     Attached as Exhibit 26 is a true and correct copy of ND_0260818, dated October

5, 2016.

        29.     Attached as Exhibit 27 is a true and correct copy of ND_0337024, dated April 1,

2016.

        30.     Attached as Exhibit 28 is a true and correct copy of NULIT-0000159158, M.

Schapiro Deposition Exhibit 7, dated November 30, 2017.

        31.     Attached as Exhibit 29 is a true and correct copy of NULIT-0000159161, Watson

Deposition Exhibit. 03, dated December 1, 2017.

        32.     Attached as Exhibit 30 is a true and correct copy of NULIT-0000169374, M.

Schapiro Deposition Exhibit 6, dated December 4, 2013.

        33.     Attached as Exhibit 31 is a true and correct copy of NULIT-0000169661, Watson

Deposition Exhibit. 10, dated May 5, 2017.

        34.     Attached as Exhibit 32 is a true and correct copy of NULIT-0000178661, Watson

Deposition Exhibit 07, dated April 25, 2012.

        35.     Attached as Exhibit 33 is a true and correct copy of PENN568-LIT-00016120.

        36.     Attached as Exhibit 34 is a true and correct copy of PENN568-LIT-00017761.

        37.     Attached as Exhibit 35 is a true and correct copy of PENN568-LIT-00137113, Varas

Deposition Exhibit 17, dated January 17, 2019.

        38.     Attached as Exhibit 36 is a true and correct copy of PENN568-LIT-00178393, dated

May 10, 2018.




                                                 4
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 5 of 23 PageID #:16587




       39.    Attached as Exhibit 37 is a true and correct copy of VANDERBILT-00026768.

       40.    Attached as Exhibit 38 is a true and correct copy of VANDERBILT-00047310,

Tener Deposition Exhibit 03, dated August 24, 2014.

       41.    Attached as Exhibit 39 is a true and correct copy of the J. DeGioia Deposition

Exhibit 8, dated June 25, 2023.

       42.    Attached as Exhibit 40 is a true and correct copy of the J. DeGioia Deposition

Exhibit 13, dated March 6, 2014.

       43.    Attached as Exhibit 41 is a true and correct copy of GTWNU_0000094409, C.

Deacon Deposition Exhibit 6, dated July 9, 2021.

       44.    Attached as Exhibit 42 is a true and correct copy of GTWNU_0000170064, C.

Deacon Deposition Exhibit 5.

       45.    Attached as Exhibit 43 is a true and correct copy of GTWNU_0000170083, C.

Deacon Deposition Exhibit 4.

       46.    Attached as Exhibit 44 is a true and correct copy of GTWNU_0000170128, C.

Deacon Deposition Exhibit 3.

       47.    Attached as Exhibit 45 is a true and correct copy of GTWNU_0000170277, C.

Deacon Deposition Exhibit 2.

       48.    Attached as Exhibit 46 is a true and correct copy of GTWNU_0000170284, C.

Deacon Deposition Exhibit 1.

       49.    Attached as Exhibit 47 is a true and correct copy of GTWNU_0000374005, J.

DeGioia Deposition Exhibit 12, dated March 8, 2019.

       50.    Attached as Exhibit 48 is a true and correct copy of GTWNU_0000374050, J.

DeGioia Deposition Exhibit 7, dated March 15, 2017.




                                              5
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 6 of 23 PageID #:16588




       51.    Attached as Exhibit 49 is a true and correct copy of GTWNU_0000378237,

DeGioia Exhibit 06.

       52.    Attached as Exhibit 50 is a true and correct copy of GTWNU_00397672, J. DeGioia

Deposition Exhibit 36, dated. August 29, 2018

       53.    Attached as Exhibit 51 is a true and correct copy of GTWNU_00398987, J. DeGioia

Deposition Exhibit 37, dated December 13, 2018.

       54.    Attached as Exhibit 52 is a true and correct copy of GTWNU_00399820, J. DeGioia

Deposition Exhibit 38, dated February 25, 2019.

       55.    Attached as Exhibit 53 is a true and correct copy of GTWNU_00399824, J. DeGioia

Deposition Exhibit 40, dated April 2, 2019.

       56.    Attached as Exhibit 54 is a true and correct copy of GTWNU_00400057, J.

DeGioia Deposition Exhibit 39, dated February 11, 2019.

       57.    Attached as Exhibit 55 is a true and correct copy of GTWNU_00415241, J. DeGioia

Deposition Exhibit 9, dated August 24, 2019.

       58.    Attached as Exhibit 56 is a true and correct copy of GTWNU_00416435, J. DeGioia

Deposition Exhibit 41, dated December 2, 2020.

       59.    Attached as Exhibit 57 is a true and correct copy of Schapiro Exhibit 03, dated

February 22., 2001.

       60.    Attached as Exhibit 58 is a true and correct copy of excerpts taken from the

Transcript of the A. Koenig deposition, dated February 13, 2024.

       61.    Attached as Exhibit 59 is a true and correct copy of excerpts taken from the

Transcript of the P. Ammon deposition.




                                                6
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 7 of 23 PageID #:16589




       62.     Attached as Exhibit 60 is a true and correct copy of excerpts taken from the

Transcript of the C. Deacon deposition, dated May 18, 2022.

       63.     Attached as Exhibit 61 is a true and correct copy of excerpts taken from the

Transcript of the C. Watson deposition, dated October 10, 2023.

       64.     Attached as Exhibit 62 is a true and correct copy of excerpts taken from the

Transcript of the D. Bishop deposition, dated August 16, 2024.

       65.     Attached as Exhibit 63 is a true and correct copy of the excerpts taken from the

Transcript of the D. Christiansen deposition, dated December 1, 2023.

       66.     Attached as Exhibit 64 is a true and correct copy of excerpts taken from the

Transcript of the H. Singer deposition, dated November 27, 2024.

       67.     Attached as Exhibit 65 is a true and correct copy of excerpts taken from the

Transcript of the I. Waitz deposition, dated December 15, 2023.

       68.     Attached as Exhibit 66 is a true and correct copy of excerpts taken from the

Transcript of the J. Locke, dated December 11, 2023.

       69.     Attached as Exhibit 67 is a true and correct copy of excerpts taken from the

Transcript of the J. Sassorossi deposition, dated May 17, 2023.

       70.     Attached as Exhibit 68 is a true and correct copy of excerpts taken from the

Transcript of the of J. Tilton deposition, dated May 15, 2023.

       71.     Attached as Exhibit 69 is a true and correct copy of excerpts taken from the

Transcript of the L. Stiroh Deposition, dated November 12, 2024.

       72.     Attached as Exhibit 70 is a true and correct copy of excerpts taken from the

Transcript of the M. Hall deposition, dated September 13, 2023.




                                                7
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 8 of 23 PageID #:16590




         73.   Attached as Exhibit 71 is a true and correct copy of excerpts taken from the

Transcript of the M. Schapiro deposition, dated July 18, 2023.

         74.   Attached as Exhibit 72 is a true and correct copy of excerpts taken from the

Transcript of the N. Hill deposition, dated November 22, 2024.

         75.   Attached as Exhibit 73 is a true and correct copy of excerpts taken from the

Transcript of the P. McWade deposition, dated December 8, 2023.

         76.   Attached as Exhibit 74 is a true and correct copy of excerpts taken from the

Transcript of the R. Millard deposition, dated February 27, 2024.

         77.   Attached as Exhibit 75 is a true and correct copy of excerpts taken from the

Transcript of the S. Donahue deposition, dated March 26, 2024.

         78.   Attached as Exhibit 76 is a true and correct copy of excerpts taken from the

Transcript of the S. Harberson deposition, dated October 25, 2023.

         79.   Attached as Exhibit 77 is a true and correct copy of excerpts taken from the

Transcript of the S. Schmill deposition, dated June 5, 2024.

         80.   Attached as Exhibit 78 is a true and correct copy of an excerpt from the Transcript

of the S. Baum deposition, dated March 29, 2024.

         81.   Attached as Exhibit 79 is a true and correct copy of UCHICAGO_0000052966,

dated.

         82.   Attached as Exhibit 80 is a true and correct copy of the Transcript of D. Betterton

deposition, dated February 22, 2024.

         83.   Attached as Exhibit 81 is a true and correct copy of Emory_568Lit_0023692.

         84.   Attached as Exhibit 82 is a true and correct copy of Columbia_00246836, dated

October 14, 2014.




                                                8
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 9 of 23 PageID #:16591




       85.    Attached as Exhibit 83 is a true and correct copy of Columbia_00056363, dated

April 25, 2011.

       86.    Attached as Exhibit 84 is a true and correct copy of University Leaves Financial

Aid Group, YALE DAILY NEWS, by Caitlin Roman, dated September 26, 2008.

       87.    Attached as Exhibit 85 is a true and correct copy of CALTECH000054902.

       88.    Attached as Exhibit 86 is a true and correct copy of an excerpt from the Transcript

of the J. DeGioia deposition, dated February 16, 2024.

       89.    Attached as Exhibit 87 is a true and correct copy of CORNELL_LIT0000206598,

dated October 29, 2015.

       90.    Attached as Exhibit 88 is a true and correct copy of Penn Expands Financial Aid

for Middle Income Families, by Penn Today, dated November. 19, 2024.

       91.    Attached as Exhibit 89 is a true and correct copy of Undergraduates with Family

Income Below $200,000 Can Expect to Attend MIT Tuition-free Starting in 2025, by Steve Brandt,

of MIT News, dated November 20, 2024.

       92.    Attached as Exhibit 90 is a true and correct copy of Dartmouth Receives Its Largest-

Ever Scholarship Bequest, by Dartmouth: Office of Communications, dated March 25, 2024.

       93.    Attached as Exhibit 91 is a true and correct copy of Transforming Higher

Education: Notre Dame’s Bold, Landmark Commitment to Financial Aid, by Sean Cuneo, dated

September 19, 2024.

       94.    Attached as Exhibit 92 is a true and correct copy of Vanderbilt University

Announces Expansion of Its No-Loan Financial Aid, by Vanderbilt University News, dated

February 8, 2024.




                                               9
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 10 of 23 PageID #:16592




       95.    Attached as Exhibit 93 is a true and correct copy of Financial Aid Office Announces

Three New Efforts to Streamline Process, by Molly Reinmann, of Yale Daily News, dated

November 13, 2023.

       96.    Attached as Exhibit 94 is a true and correct copy of Vanderbilt-00403762-

Christianson Exhibit 7, dated February 15, 2023.

       97.    Attached as Exhibit 95 is a true and correct copy of the Notre Dame 568 Stipulation,

dated October 4, 2023.

       98.    Attached as Exhibit 96 is a true and correct copy of the NU Donor Stipulation, dated

October 13, 2023.

       99.    Attached as Exhibit 97 is a true and correct copy of Vanderbilt Stipulation, dated

November 3, 2023.

       100.   Attached as Exhibit 98 is a true and correct copy of the DeGioia Deposition Exhibit

1, dated September 9, 2015.

       101.   Attached as Exhibit 99 is a true and correct copy of the Crowley Deposition Exhibit

8, dated March 13, 2019.

       102.   Attached as Exhibit 100 is a true and correct copy of GTWNU_0000146786-

Deacon Exhibit 33., dated May 13, 2014.

       103.   Attached as Exhibit 101 is a true and correct copy of the Transcript for the J. Gaines

deposition, dated August 3, 2023.

       104.   Attached as Exhibit 102 is a true and correct copy of GTWNU_0000146786, dated

November 5, 2002.




                                                10
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 11 of 23 PageID #:16593




       105.   Attached as Exhibit 103 is a true and correct copy of Penn's Response and

Objections to Plaintiffs' First Set of Request for Admission to All Defendants, RFA No. 20, dated

November 13, 2023

       106.   Attached as Exhibit 104 is a true and correct copy of Penn paid Amy Gutmann $23

million in final year as president, including 18-year compensation package, by Jared Mitovich of

The Daily Pennsylvanian, dated June 17, 2023.

       107.   Attached as Exhibit 105 is a true and correct copy of NULIT-0000161662.

       108.   Attached as Exhibit 106 is a true and correct copy of CORNELL_LIT0000002448.,

dated December 1, 2003.

       109.   Attached as Exhibit 107 is a true and correct copy of DUKE568_0000027, McCall

Exhibit 14., dated December, 2016.

       110.   Attached as Exhibit 108 is a true and correct copy of the Expert Report of Hal

Singer dated May 14, 2024.

       111.   Attached as Exhibit 109 is a true and correct copy of the Expert Report of Elizabeth

Mora dated May 14, 2024.

       112.   Attached as Exhibit 110 is a true and correct copy of the Rebuttal Expert Report of

Hal Singer dated October 7, 2024.

       113.   Attached as Exhibit 111 is a true and correct copy of the Rebuttal Expert Report of

Elizabeth Mora dated October 7, 2024.

       114.   Attached as Exhibit 112 is a true and correct copy of the Expert Report of George

Bulman dated May 14, 2024.

       115.   Attached as Exhibit 113 is a true and correct copy of the Rebuttal Expert Report of

George Bulman dated October 7, 2024.




                                                11
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 12 of 23 PageID #:16594




           116.   Attached as Exhibit 114 is a true and correct copy of the Suppl. Rebuttal Expert

Report of Hal Singer Ph. D dated November 8, 2024.

           117.   Attached as Exhibit 115 is a true and correct copy of the Expert Report of Terry

Bridget Long Ph. D dated August 7, 2024 (omitting Appendix D for potential confidentiality

issues).

           118.   Attached as Exhibit 116 is a true and correct copy of excerpts from the Transcript

of the B.T. Long deposition, dated October 23, 2024.

           119.   Attached as Exhibit 117 is a true and correct copy of Major financial aid expansion

at Penn targets middle-income families, excludes home values, by Neema Baddam of The Daily

Pennsylvanian, dated November 19, 2024.

           120.   Attached as Exhibit 118 is a true and correct copy of ND_0065243, Nucciarone

Deposition Exhibit 03, dated July 9, 2015.

           121.   Attached as Exhibit 119 is a true and correct copy of excerpts from the Transcript

M. Nucciarone 30(b)(6), dated April 3, 2024.

           122.   Attached as Exhibit 120 is a true and correct copy of excerpts from the Transcript

of J. O’Neill deposition, dated August 17, 2023.

           123.   Attached as Exhibit 121 is a true and correct copy of YALE_LIT_0000321580.

           124.   Attached as Exhibit 122 is a true and correct copy of the Expert Report of Peter

Ammon, dated August 7, 2024.

           125.   Attached as Exhibit 123 is a true and correct copy of PENN568-LIT-00000002,

dated January 24, 2020.




                                                  12
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 13 of 23 PageID #:16595




Dated: December 16, 2024


      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



                                                            /s/ Edward Normand
                                                            Edward Normand
                                                            FREEDMAN NORMAND
                                                            FRIEDLAND LLP
                                                            10 Grand Central
                                                            155 E. 44th Street, Suite 915
                                                            New York, NY 10017
                                                            Tel: 646-350-0527
                                                            tnormand@fnf.law




                                               13
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 14 of 23 PageID #:16596




                           Appendix 1: Exhibit Mapping

 Ex.                                     Transcript
 No.   Document ID                       Pincites          Cited in Expert Report ¶
       CORNELL_LIT0000015955 -
  1    Felton Ex. 7
  2    CORNELL_LIT0000018799 at -801
       CORNELL_LIT0000162302 -
  3    Felton Ex. 24
  4    CORNELL_LIT0000170204
  5    CORNELL_LIT0000301012
  6    DARTMOUTH_0000380953
                                                           Singer ¶ 126, 162, 298,
                                                           299, 300
                                                           Singer Rebuttal ¶ 42, 258,
                                                           264
  7    DARTMOUTH_0000359371                                Long ¶ 184
  8    DUKE568_0029588 at -89
  9    DUKE568-0067132
                                                           Singer ¶ 126, 147
 10    Emory_568Lit_0000577                                Singer Rebuttal ¶ 38
 11    Emory_568Lit_0002702
 12    Emory_568Lit_0003643
 13    EMORY_568Lit_0006148
 14    GTWNU_0000000241
 15    GTWNU_0000000278                                    Singer ¶ 309
 16    GTWNU_0000116894
       GTWNU_0000193182 - McWade
 17    Exhibit 11
       MITLIT-000074274 - Bridson -                        Singer ¶ 147, 379, 380, 381
 18    MIT 30(b)(6) Ex. 02                                 Singer Rebuttal ¶ 267
       MITLIT-000089375 - Millard Ex.
 19    07
       MITLIT-000117897 - I. Waitz
 20    Deposition Exhibit 5
 21    MITLIT-000637360 - Hicks Ex. 11
       MITLIT-000659292 - S. Schmill
 22    Deposition Exhibit 29
 23    ND_0039910
 24    ND_0196410 - Malloy Ex. 12
 25    ND_0199458
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 15 of 23 PageID #:16597




 Ex.                                      Transcript
 No.   Document ID                        Pincites         Cited in Expert Report ¶
 26    ND_0260818
 27    ND_0337024
       NULIT-0000159158 - M. Schapiro
 28    Deposition Exhibit 7
       NULIT-0000159161 - Watson Ex.
 29    03
       NULIT-0000169374 - M. Schapiro
 30    Deposition Exhibit 6
       NULIT-0000169661 - Watson Ex.
 31    10
       NULIT-0000178661 - Watson Ex.
 32    07
 33    PENN568-LIT-00016120                                Singer ¶ 158, 355
 34    PENN568-LIT-00017779                                Singer ¶ 355
       PENN568-LIT-00137113 - Varas
 35    Ex. 17
 36    PENN568-LIT-00178393
 37    VANDERBILT-00026768
       VANDERBILT-00047310 - Tener                         Singer ¶ 130
 38    Ex. 03                                              Singer Rebuttal ¶ 57
 39    J. DeGioia Deposition Exhibit 8
                                                           Singer ¶ 308
 40    J. DeGioia Deposition Exhibit 13                    Singer Rebuttal ¶ 273
       GTWNU_0000094409 - C. Deacon
 41    Deposition Exhibit 6
       GTWNU_0000170064 - C. Deacon
 42    Deposition Exhibit 5
       GTWNU_0000170083 - C. Deacon
 43    Deposition Exhibit 4
       GTWNU_0000170128 - C. Deacon
 44    Deposition Exhibit 3
       GTWNU_0000170277 - C. Deacon
 45    Deposition Exhibit 2
       GTWNU_0000170284 - C. Deacon
 46    Deposition Exhibit 1
       GTWNU_0000374005 - J. DeGioia
 47    Deposition Exhibit 12
       GTWNU_0000374050 - J. DeGioia
 48    Deposition Exhibit 7
       GTWNU_0000378237 - DeGioia
 49    Exhibit 06
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 16 of 23 PageID #:16598




 Ex.                                           Transcript
 No.   Document ID                             Pincites              Cited in Expert Report ¶
       GTWNU_00397672 - J. DeGioia
 50    Deposition Exhibit 36
       GTWNU_00398987 - J. DeGioia
 51    Deposition Exhibit 37
       GTWNU_00399820 - J. DeGioia
 52    Deposition Exhibit 38
       GTWNU_00399824 - J. DeGioia
 53    Deposition Exhibit 40
       GTWNU_00400057 - J. DeGioia
 54    Deposition Exhibit 39
       GTWNU_00415241 - J. DeGioia
 55    Deposition Exhibit 9
       GTWNU_00416435 - J. DeGioia
 56    Deposition Exhibit 41
 57    Schapiro Exhibit 03
                                               25:13-27:11; 26:19-
                                               27:11, 27:12-28:23;
       Transcript excerpt of A. Koenig         33:5-36:16, 208:6-
 58    deposition, dated February 13, 2024     209:5;
                                               115:5-7
                                               115:8-16
                                               117:15-23
                                               118:21-119:3
       Transcript of P. Ammon deposition,      119:5-10
 59    dated                                   193:25-194:5
       Transcript excerpt of C. Deacon
 60    DOJ deposition, dated May 18, 2022      91:12-23
       Transcript excerpt of C. Watson         40:3-8; 60:7-9,
 61    deposition, dated October 10, 2023      62:9-15, 68:21-25
       Transcript excerpt of D. Bishop
 62    deposition, dated August 16, 2024       302:21-303:1
       Transcript excerpt of D. Christiansen
 63    deposition, dated December 1, 2023      61:16-63:3
       Transcript excerpt of H. Singer
       deposition, dated November 27,          47:13-48:10; 50:3-
 64    2024                                    51:4; 192:9-193:5;
       Transcript excerpt of I. Waitz
       deposition, dated December 15,          110:19-21; 113:16-
 65    2023                                    23
       Transcript excerpt of J. Locke, dated   178:11-180:10,
 66    December 11, 2023                       203:9-204:17
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 17 of 23 PageID #:16599




 Ex.                                         Transcript
 No.   Document ID                           Pincites              Cited in Expert Report ¶
                                             45:5-16, 51:2-24,
                                             52:6-53:13, 55:3-
                                             56:13; 58:15-20;
                                             130:8-131:2; 163:7-
                                             8; 165:20-167:16;
                                             169:8-170:2,
                                             171:18-172:25;
                                             175:16-178:12;
                                             179:18-180:5;
                                             181:8-182:3;
                                             182:21-183:6;
                                             198:15-20; 217:13-
                                             24; 220:3-21
                                             233:16-234:5;
                                             242:5-243:12;
                                             250:25-251:13;
                                             290:7-292:16;
       Transcript excerpt of J. Sassorossi   297:11-298:19;
 67    deposition, dated May 17, 2023        295:20-297:10
       Transcript excerpt of J. Tilton
 68    deposition, dated May 15, 2023        191:6-17
       Transcript excerpt of L. Stiroh       149:17-24; 176:15-
       deposition, dated November 12,        23; 185:19-25,
 69    2024                                  190:25-191:9
       Transcript excerpt of M. Hall
       deposition, dated September 13,
 70    2023                                  55:15-22
                                             39:12-40:8; 42:19-
                                             43:12; 45:3-46:3;
       Transcript excerpt of M. Schapiro     47:9-48:20; 53:2-5;
 71    deposition, dated July 18, 2023       53:8-9; 61:18-25
       Transcript excerpt of N. Hill
       deposition, dated November 22,
 72    2024                                  92:23-93:6
       Transcript excerpt of P. McWade       106:10-14; 190:18-    Singer ¶ 309
 73    deposition, dated December 8, 2023    191:4                 Singer Rebuttal ¶ 273
       Transcript excerpt of R. Millard
 74    deposition, dated February 27, 2024   57:13-58:11
       Transcript excerpt of S. Donahue
 75    deposition, dated March 26, 2024      56:4-15               Singer ¶ 379


       Transcript excerpt of S. Harberson    223:6-9; 224:17-
 76    deposition, dated October 25, 2023    225-12
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 18 of 23 PageID #:16600




 Ex.                                         Transcript
 No.   Document ID                           Pincites              Cited in Expert Report ¶
       Transcript excerpt of S. Schmill      233:10-234:3;
 77    deposition, dated June 5, 2024        239:12-15
       Transcript excerpt of S. Baum
 78    deposition, dated March 29, 2024      106:9-15; 172:3-13    Singer ¶ (passim)
                                                                   Singer ¶ 224, 342
 79    UCHICAGO_0000052966                                         Singer Rebuttal ¶ 57
       Transcript excerpt of D. Betterton
 80    deposition, dated February 22, 2024   17:20-18:11           Singer ¶ 226, 380
 81    Emory_568Lit_0023692                                        Singer ¶ 225, 349
 82    Columbia_00246836                                           Singer ¶ 84, 224, 342
                                                                   Singer ¶ 226, 379, 380
 83    Columbia_00056363                                           Singer Rebuttal ¶ 57
       Caitlin Roman, University Leaves
       Financial Aid Group, YALE DAILY
       NEWS (Sept. 26, 2008),
       https://yaledailynews.com/blog/2008
       /09/26/university-leaves-financial-
 84    aid-group/.                                                 Singer ¶ 222
 85    CALTECH000054902
                                             50:15-23; 50:15-
                                             51:18; 65:11-66:24;
                                             67:2-6; 95:6-96:9;
       Transcript excerpt of J. DeGioia      254:23-256:10;
 86    deposition, dated February 16, 2024   255:23-256:14
 87    CORNELL_LIT0000206598
       Penn Expands Financial Aid for
       Middle Income Families, PennToday
 88    (Nov. 19, 2024)
       Steve Brandt, Undergraduates with
       Family Income Below $200,000 Can
       Expect to Attend MIT Tuition-free
       Starting in 2025, MIT News (Nov.
 89    20, 2024).
       Dartmouth Receives Its Largest-
       Ever Scholarship Bequest,
       Dartmouth: Office of
 90    Communications (Mar. 25, 2024)
       Sean Cuneo, Transforming Higher
       Education: Notre Dame’s Bold,
       Landmark Commitment to Financial
       Aid, Giving to Notre Dame (Sept.
 91    19, 2024)
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 19 of 23 PageID #:16601




 Ex.                                          Transcript
 No.   Document ID                            Pincites           Cited in Expert Report ¶
       Vanderbilt University Announces
       Expansion of Its No-Loan Financial
       Aid, Vanderbilt University News
 92    (Feb. 8, 2024)
       Molly Reinmann, Financial Aid
       Office Announces Three New Efforts
       to Streamline Process, Yale Daily
 93    News (Nov. 13, 2023)

 94    Vanderbilt-00403761
       Stipulation Between Plaintiffs and
       Defendant Notre Dame Du Lac
       regarding Donor-Related
       Admissions and the 568 Exemption,
 95    dated October 4, 2023
       Stipulation Between Plaintiffs and
       Defendant Northwestern University,
 96    dated October 13, 2023
       Stipulation Between Plaintiffs and
       Defendant Vanderbilt University,
 97    dated November 3, 2023
 98    J. DeGioia Deposition Exhibit 1
       Crowley Dep Ex 8 -
       https://www.bostonglobe.com/opini
       on/editorials/2019/03/13/confessions
       -former-admissions-
       director/qPQppf0AhpJIbIJ8mZ6q9L
 99    /story.html
       GTWNU_0000146786 - Deacon
 100   Exhibit 33
       Transcript excerpt of J. Gaines        53:20-22, 54:23-
 101   deposition, dated August 3, 2023       55:1
 102   CORNELL_LIT0000303597                                     Singer ¶ 142-146
       Penn Response to RFA No. 20,
       Penn's Response and Objections to
       Plaintiffs' First Set of Request for
       Admission to All Defendants, dated
 103   November 13, 2023,
       Jared Mitovich, Penn Paid Amy
       Gutmann $23 Million in Final Year
       as President, Including 18-Year
       Compensation Package, Daily
 104   Pennsylvanian (June 17, 2023, 1:16
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 20 of 23 PageID #:16602




 Ex.                                          Transcript
 No.   Document ID                            Pincites               Cited in Expert Report ¶
       PM),
       https://www.thedp.com/article/2023/
       06/penn-amy-gutmann-university-
       president-salary

 105   NULIT-0000161662                                              Long ¶ 176 (passim)
                                                                     Singer ¶ 131, 135,137,163,
                                                                     182
 106   CORNELL_LIT0000002448                                         Singer Rebuttal ¶ 258
       DUKE568_0000027 - McCall Ex.
 107   14                                                            Singer ¶ 160
       Expert Report of H. Singer, dated
 108   May 14, 2024
       Expert Report of E. Mora, dated
 109   May 14, 2024
       Expert Rebuttal Report of H. Singer,
 110   dated October 7, 2024
       Expert Rebuttal Report of E. Mora,
 111   dated October 7, 2024
       Expert Report of G. Bulman, dated
 112   May 14, 2024
       Expert Rebuttal Report of G.
 113   Bulman, dated October 7, 2024
       Expert Supplemental Rebuttal
       Report of H. Singer, dated
 114   November 8, 2024.
       Expert Report of B. Long, dated
 115   August 7, 2024
                                              13:15-21; 14:18-22;
                                              15:4-18; 23:45-
                                              24:18; 26:8-27:12;
                                              27:1-7; 38:22-39:4;
                                              38:18-42:9; 39:6-9;
                                              39:10-16; 39:17-
                                              42:9; 40:5-10; 42:7-
                                              9; 71:11-22; 71:18-
                                              22; 102:7-12;
                                              103:13-105:10;
                                              103:18-21; 105:6-
                                              10; 109:8-110:21;
                                              111:23-112:4;
                                              112:19-23; 112:24-
       Transcript excerpt of B.T. Long        113:8; 119:2-6;
 116   deposition, dated October 23, 2024     119:2-16; 119:20-
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 21 of 23 PageID #:16603




  Ex.                                          Transcript
  No.    Document ID                           Pincites             Cited in Expert Report ¶
                                               120:1; 125:2-6;
                                               143:23-144:2

         Neema Baddam, Major Financial
         Aid Expansion at Penn Targets
         Middle-Income Families, Excludes
         Home Values, Daily Pennsylvanian
  117    (Nov. 19, 2024)
                                                                    Singer ¶ 325
  118    ND_0065243 - Nucciarone Ex. 03                             Singer rebuttal ¶ 277
         Transcript of M. Nucciarone Rule
         30(b)(6) deposition, dated April 3,   39:24-40, 230:10-    Singer ¶ 325
  119    2024                                  22                   Singer Rebuttal ¶ 268
         Transcript Excerpts of J. O'Neill
  120    deposition, dated August 17, 2023     52:2-24; 53:9-24.
  121    YALE_LIT_0000321580.pdf
         Peter Ammon Rule 26(a)(2)(C)
  122    Disclosure, dated August 7, 2024
  123    PENN568-LIT-00000002.

Table of Singer Report Exhibits

  Ex.                                          Transcript
  No.    Document ID                           Pincites             Cited in Expert Report ¶
                                                                    Singer ¶ 126, 162, 298,
   7     DARTMOUTH_0000359371                                       299, 300
  10     Emory_568Lit_0000577                                       Singer ¶ 126, 147
  15     GTWNU_0000000278                                           Singer ¶ 309
         MITLIT-000074274 - Bridson -
  18     MIT 30(b)(6) Ex. 02                                        Singer ¶ 147, 379, 380, 381
  33     PENN568-LIT-00016120                                       Singer ¶ 158, 355
  34     PENN568-LIT-00017761                                       Singer ¶ 355
         VANDERBILT-00047310 - Tener
  38     Ex. 03                                                     Singer ¶ 130
  40     J. Deposition Exhibit 13                                   Singer ¶ 308
         Transcript excerpt of P. McWade       106:10-14; 190:18-
  73     deposition, dated December 8, 2023    191:4                Singer ¶ 309
         Transcript excerpt of S. Donahue
  75     deposition, dated March 26, 2024      56:4-15              Singer ¶ 379
         Transcript excerpt of S. Baum
  78     deposition, dated March 29, 2024      106:9-15; 172:3-13   Singer ¶ (passim)
  79     UCHICAGO_0000052966                                        Singer ¶ 224, 342
 Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 22 of 23 PageID #:16604




         Transcript excerpt of D. Betterton
  80     deposition, dated February 22, 2024 17:20-18:11            Singer ¶ 226, 380
  81     Emory_568Lit_0023692                                       Singer ¶ 225, 349
  82     Columbia_00246836                                          Singer ¶ 84, 224, 342
  83     Columbia_00056363                                          Singer ¶ 226, 379, 380
         Caitlin Roman, University Leaves
         Financial Aid Group, YALE DAILY
         NEWS (Sept. 26, 2008),
         https://yaledailynews.com/blog/2008
         /09/26/university-leaves-financial-
   84    aid-group/.                                                Singer ¶ 222
  102    CORNELL_LIT0000303597                                      Singer ¶ 142-146
                                                                    Singer ¶ 131, 135,137,163,
  106    CORNELL_LIT0000002448                                      182
         DUKE568_0000027 - McCall Ex.
  107    14                                                         Singer ¶ 160
  118    ND_0065243 - Nucciarone Ex. 03                             Singer ¶ 325
         Transcript of M. Nucciarone Rule
         30(b)(6) deposition, dated April 3,   39:24-40, 230:10-
  119    2024                                  22                   Singer ¶ 325


Table of Singer Rebuttal Report Exhibits
  Ex.                                          Transcript
  No. Document ID                              Pincites             Cited in Expert Report ¶
                                                                    Singer Rebuttal ¶ 42, 258,
   7     DARTMOUTH_0000359371                                       264
  10     Emory_568Lit_0000577                                       Singer Rebuttal ¶ 38
         MITLIT-000074274 - Bridson -
  18     MIT 30(b)(6) Ex. 02                                        Singer Rebuttal ¶ 267
         VANDERBILT-00047310 - Tener
  38     Ex. 03                                                     Singer Rebuttal ¶ 57
  40     J. DeGioia Deposition Exhibit 13                           Singer Rebuttal ¶ 273
         Transcript excerpt of P. McWade       106:10-14; 190:18-
   73    deposition, dated December 8, 2023    191:4                Singer Rebuttal ¶ 273
   79    UCHICAGO_0000052966                                        Singer Rebuttal ¶ 57
   83    Columbia_00056363                                          Singer Rebuttal ¶ 57
  106    CORNELL_LIT0000002448                                      Singer Rebuttal ¶ 258
  118    ND_0065243 - Nucciarone Ex. 03                             Singer rebuttal ¶ 277
         Transcript of M. Nucciarone Rule
         30(b)(6) deposition, dated April 3,   39:24-40, 230:10-
  119    2024                                  22                   Singer Rebuttal ¶ 268
Case: 1:22-cv-00125 Document #: 753 Filed: 12/16/24 Page 23 of 23 PageID #:16605




Table of Long Report Exhibits
  Ex.                                   Transcript
  No. Document ID                       Pincites           Cited in Expert Report ¶
   7     DARTMOUTH_0000359371                              Long ¶ 184
  105 NULIT-0000161662                                     Long ¶ 176 (passim)
